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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA
                                SOUTHWESTERN DIVISION

United States of America,                  )
                                           )
               Plaintiff,                  )       ORDER
                                           )
       vs.                                 )
                                           )
Jovan William Barrett,                     )       Case No. 1:14-cr-190-3
                                           )
               Defendant.                  )


       Attorney Thomas Dickson has been retained by defendant and on May 11, 2015, filed a

notice of appearance his appearance on defendant’s behalf. Accordingly, attorney Thomas Dickson

shall be substituted as defense counsel of record. Attorney Thomas Jackson is GRANTED leave

to withdraw.

       IT IS SO ORDERED.

       Dated this 12th day of May, 2015.

                                                   /s/ Charles S. Miller, Jr.
                                                   Charles S. Miller, Jr., Magistrate Judge
                                                   United States District Court
